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WWR# 21387633
                               UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF PENNSYLVANIA
IN RE:                                          Case No 17-16336
Matthew S. Bologna
Jennifer A. Bologna                                      CHAPTER 13
                                  Debtor

Key Bank N.A.
                                  Movant

Matthew S. Bologna
Jennifer A. Bologna
                                  Respondents

                    AMENDED OBJECTION TO DEBTOR’S CHAPTER 13 PLAN

         AND NOW, comes Movant, KeyBank N.A, by and through its counsel, Keri P. Ebeck, Esquire,

and respectfully represents the following:

         1.      On September 15, 2017, the Debtors filed a voluntary petition commencing a case under

Chapter 13, Title 11, United States Code, and for the entry of an order for relief.

         2.      This is an action under 11 U.S.C. Section 1324, which provides a party in interest may

object to confirmation of the plan.

         3.      Debtor’s Plan should not be confirmed in accordance with 11 U.S.C. Section 1325.

Debtor’s Plan is in violation of 11 U.S.C., Section 1325(a) and fails to provide KeyBank N.A. with

adequate protection of its interests and fails to pay the full present value of its claim, with proper priority.

         4.      Movant holds a valid security interest in the form of a Title Lien and Retail Installment

Sale Contract on a 2011 Mazda 6, VIN#1YVHZ8BH4B5M01531, (hereinafter referred to as the

“Vehicle”), and as more particularly described in such contract.

         5.      The total amount of KeyBank N.A.’s Claim is$9,953.47.

         6.      On September 15, 2017 Debtors filed a Chapter 13 Plan which provides that KeyBank

N.A. be paid $4,880.00 on its secured claim at 0.00% interest with a monthly payment of $230.80.

         7.      The debt for the Collateral was incurred July 11, 2015, which is less than 910 days before

the date of the filing of the petition.
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       WHEREFORE, Movant prays this Honorable Court to deny confirmation of the Debtor’s

proposed Plan.

                                               Respectfully submitted,


                                            BY:/s/ Keri P. Ebeck
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